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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                    )   Case No. 18-CR-00258 EJD
                                                  )
15           Plaintiff,                           )   UNITED STATES’ OPPOSITION TO
                                                  )   DEFENDANT’S MOTION TO EXCLUDE
16      v.                                        )   TESTIMONY OF TRIAL WEEK OF
                                                  )   SEPTEMBER 6, 2021 WITNESSES
17   ELIZABETH HOLMES,                            )
                                                  )
18           Defendant.                           )   Date: September 8, 2021
                                                  )   Time: 8:30 a.m.
19                                                )   Court: Hon. Edward J. Davila

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     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
     CASE NO. 18-CR-258 EJD
 1          The government opposes Defendant Elizabeth Holmes’s Motion to Exclude Certain Testimony

 2 of Erika Cheung, Daniel Edlin, and So Han Spivey (a.k.a. Danise Yam). ECF No. 1000 (“1000 Mot.”).

 3 Defendant’s 1000 Motion asks the Court to make speculative and prophylactic evidentiary rulings based

 4 on a federal agent’s summary of the respective witness’ unsworn statements during a voluntary

 5 interview (captured in what is informally called a “302” memorandum) as if the 302s contain sworn

 6 statements such as are given in depositions. Without hearing a single question posed by the government,

 7 Defendant’s 1000 Motion seeks to exclude swaths of potential testimony from each of the substantive

 8 witnesses the government intends to call to testify during the first week of trial. The government is

 9 aware of and will abide by the Court’s Order regarding the parties’ motions in limine (ECF No. 798

10 (“MIL Order”)), as well as the Federal Rules of Evidence. Defendant’s 1000 Motion is premature,

11 demonstrates the inefficiency of the Defendant’s currently intended protocol, and is substantively

12 incorrect that all of the potential testimony challenged should be excluded under the Federal Rules of

13 Evidence. Thus, the government requests that the Court deny Defendant’s 1000 Motion outright, or at

14 least defer ruling on the individual topics unless and until they are presented at trial.

15 I.       Defendant’s 1000 Motion is Inefficient and Premature

16          The Court acknowledged the Defendant’s intent to “object[ ] to just about everything that the

17 government [presents]” and attempt to do so on a lopsided timetable, but instead asked Defendant to file

18 motions by noon on Saturday to give the government a “fair distribution” of time to respond. See, e.g.,
19 8/16/2021 Hearing Transcript (8/16 Tr.) at 21:6–28:24, 49:24–53:9; 1 ECF No. 958, 8/25/2021 Hearing

20 Transcript (8/25 Tr.) at 54:9–60:23. But Defendant ignored the Court’s request and sent the government

21 an email “notice” Saturday after 10:00 p.m.—more than forty-eight hours after the government

22 disclosed the four witnesses who would likely testify during the first week of trial. Volkar Decl.,

23 Exhs. 1 & 2. Defendant’s “notice” informed the government of its intent to challenge multiple points

24 identified in the agent’s summary of a witness statement for three of the four disclosed witnesses.

25 Volkar Decl., Exh. 2. On Monday morning shortly after 8:00 a.m. (September 6, 2021), Defendant filed

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     The government does not see an ECF entry containing the transcript for the August 16, 2021, hearing
27 before the Court, and thus, out of an abundance of caution, attaches that transcript for reference as
   Exhibit 3, along with all other exhibits referenced herein, to the Declaration of Kelly I. Volkar in support
28
   of the Government’s Opposition to Defendant’s ECF No. 1000 Motion (“Volkar Decl.”).
     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
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 1 the 1000 Motion seeking, in essence, to exclude testimony from each of the substantive witnesses the

 2 government anticipates presenting during the first week of trial without regard to whether the challenged

 3 statements are going to, in fact, be offered by the government into evidence at trial. It is clear that this is

 4 the pattern Defendant intends to follow throughout trial.

 5          The current protocol that Defendant intends to follow creates an inefficient process that relieves

 6 defense counsel of objecting in real-time as witnesses are testifying and burdens the Court with

 7 reviewing motions about potential testimony that may never be elicited during the actual trial.

 8 Defendant’s 1000 Motion asserts basic evidentiary challenges that fall squarely within the Court’s

 9 discretion, such as hearsay, relevance, 403, 404(b), personal knowledge—challenges which defense

10 counsel acknowledged are typically brought up in real-time before the jury. 8/25 Tr. at 56:18–22.

11 Indeed, expecting to file these types of evidentiary-based motions, defense counsel insisted that the

12 Court need not rule on them in advance. 8/25 Tr. at 57:1–2. Rather, Defendant made her intentions

13 clear that she would like to raise every conceivable objection, but outside the presence of the jury so as

14 to avoid any negative feelings by the jury as defense counsel assert what they see as their duty to object.

15 8/16 Tr. at 53:3–8; see also id. at 49:24–53:2. But it is a hallmark of habeas jurisprudence with respect

16 to ineffective assistance of counsel claims that defense lawyers are not required to object at every

17 conceivable moment and should instead be strategic about which objections to raise and when. See, e.g.,

18 Strickland v. Washington, 466 U.S. 668, 690–91 (1984) (“[s]trategic choices”—including the decision to
19 lodge or withhold objections—are entitled to “a heavy measure of deference to [defense] counsel’s

20 judgments”); Gresser v. Franke, 628 F. App’x 960, 962–63 (9th Cir. 2015) (determining “whether to

21 object to damaging testimony at the risk of drawing the jury’s attention to it is a tactical decision” that

22 can render failure to object “a valid strategic decision”). The Court can—and often does—rule on the

23 types of evidentiary challenges Defendant is raising as the topics arise during trial.

24          The topics of Defendant’s 1000 Motion demonstrates the inefficiency that the present protocol

25 will involve and the premature nature of the substance of her motion. Defendant challenges multiple

26 aspects from the respective agent’s summary of a witness statement in 302s connected with the

27 government’s disclosed three substantive witnesses for the first week of trial. 1000 Mot. at 3–6. But

28 voluntary witness interviews can serve many purposes, including, among others: to learn the underlying

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 1 facts of a case when initially investigating, to understand a witnesses’ current memory of specific topics

 2 that may have occurred years ago, or to clarify the meaning or origin of documents produced in the case.

 3 The government regularly provides 302 summaries to criminal defendants pursuant to discovery

 4 obligations, however, those summaries are not scripts for the witnesses’ trial testimony. So too here.

 5 The government is not required to raise all topics covered in the witness interview at trial, nor is the

 6 government bound by the topics discussed in those interviews. The merit of Defendant’s evidentiary

 7 challenges will ultimately depend on the questions posed by the government and the witnesses’

 8 responses, not on what an agent recalls when summarizing an interview in a 302. Furthermore, unlike

 9 witness interviews, the evidence at trial does not come before the jury in a vacuum but is combined with

10 all other evidence presented before and afterwards at trial, often providing context and foundation for

11 topics that may not be immediately apparent when one witness’ testimony is isolated. Thus, the

12 government asks the Court to deny or defer Defendant’s challenges in her 1000 Motion to hypothetical

13 testimony that may occur, until and unless the government actually seeks to elicit such testimony.

14          The government submits that Defendant’s 1000 Motion is simply the first—and likely not the

15 last—example of what Defendant intends to be a weekly ritual, and thus the government hereby requests

16 the Court order Defendant to comply with the Saturday at 12:00 p.m. deadline for Defendant’s weekly

17 motions as discussed on August 25. 8/25 Tr. at 54:14–15. The imposition of such a deadline would not

18 prejudice Defendant because, of course, her counsel has the opportunity—as they acknowledged that
19 lawyers typically utilize—to object in the moment before witness testimony is elicited in front of the

20 jury or to ask the Court to strike objectionable testimony if the objection is sustained after the testimony

21 is elicited.

22 II.      The Court Should Deny Defendant’s September 6 Motion to Exclude

23          The topics Defendant seeks to exclude in her 1000 Motion demonstrate that these are the types of

24 issues best dealt with in the moment, once the Court has had the benefit of hearing the questions posed

25 and the respective witness’ answer, particularly in light of the Court’s MIL Order (ECF No. 798).

26          A.      Erika Cheung

27          Erika Cheung joined Theranos when she was just a few years older than the Defendant when

28 Holmes founded Theranos, and Cheung worked in the research and development lab, testing Theranos’s

     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
     CASE NO. 18-CR-258 EJD                        3
 1 proprietary device, during the charged period. ECF No. 1000-2 at 2. Cheung personally witnessed

 2 issues in her work on validation studies and precision testing in the lab and repeatedly raised these issues

 3 to her superiors and to Defendant’s co-conspirator, Ramesh “Sunny” Balwani. Id. at 3–8. Cheung

 4 became so disillusioned that she quit her job at Theranos and, after some time, she reported what she had

 5 seen during her time at Theranos to regulatory authorities (CMS) as a whistleblower. Id. at 7–10.

 6          Defendant’s 1000 Motion challenges as hearsay or lacking personal knowledge several aspects

 7 described in the 302 summary of Cheung’s voluntary unsworn statements during her interview with the

 8 government. 1000 Mot. at 3–4. As an initial matter, as discussed above, Defendant’s arguments are

 9 premature because the government does not intend to elicit every fact that Cheung provided during her

10 voluntary interview at trial. More importantly, several statements Defendant has highlighted are not

11 hearsay. ECF No. 1000-2. For example, the fact that Tyler Shultz had a meeting with Holmes and

12 Balwani and quit the next day is not hearsay and Cheung likely does have first-hand knowledge of

13 another employee working in a similar capacity resigning from his job. Cf. id. at 7. The fact that the

14 meeting occurred also explains why Cheung and Tyler Shultz met with George Shultz and how seriously

15 she understood the issues at Theranos to be in deciding to escalate her concerns to a member of the

16 Board of Directors. Similarly, the fact that “there was pressure from Holmes and Balwani to get

17 validation studies and reports done” is not hearsay on its face, nor does Cheung lack personal knowledge

18 to testify to that fact. Id. at 5, 7. Even if Cheung was told of this pressure by other Theranos employees,
19 the Court’s MIL Order permits such adopted admissions so long as there is a sufficient tie to Holmes,

20 which is self-evident here. MIL Order at 94–97. As yet another example, the fact that Balwani gave

21 one reason for problems with Theranos’ blood testing device (e.g., software), but the person in charge of

22 software for the device said that that was not the root cause of the issues helps explain why Cheung

23 ultimately felt compelled to report the problems at Theranos to regulatory authorities. ECF No. 1000-2

24 at 4, 8. In sum, to the extent Cheung testifies at trial to any of these topics, the Defendant has not shown

25 they constitute excludable hearsay or that they lack sufficient personal knowledge to exclude such

26 statements blanketly at this time.

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     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
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 1          Furthermore, the Court should reject Defendant’s attempt to exclude Cheung’s reactions to

 2 learning that Theranos could not deliver on its promise to patients. 1000 Mot. at 3. Several 302

 3 statements identified by Defendant may be admissible and are certainly relevant to demonstrate how

 4 seriously Cheung understood the issues at Theranos to be, and why the facts she learned and observed at

 5 Theranos propelled Cheung from her initial excitement to join Theranos, to her dismay and ultimate

 6 resignation from Theranos, to becoming a whistleblower. ECF No. 1000-2. Cheung’s realization that

 7 Holmes and Balwani did not care about the issues with Theranos’s blood testing device that “could have

 8 an effect on people’s health” is part of what compelled her to report the issues to CMS rather than using

 9 channels within the company to voice her concerns. Id. at 7, 9–10. Cheung’s motivation is also relevant

10 to demonstrate a lack of bias, even if she received subsequent personal gains, such as in connection with

11 the TED Talk identified in the jury questionnaire. See id. at 10; ECF No. 928 at 13. Thus, these topics

12 identified in Defendant’s 1000 Motion are indeed relevant and not unduly prejudicial.

13          Defendant’s final challenge to Cheung’s testimony that might purportedly violate the Court’s

14 MIL Order also lacks merit. 1000 Mot. at 3–4. First, Defendant challenges the practice within the

15 Theranos lab of removing outliers to improve the quality control data and Cheung’s observation of it.

16 Id. at 4. But the Court already rejected similar challenges to Dr. Adam Rosendorff’s expected testimony

17 and held it did not require expert opinions to describe this practice. MIL Order 75–77. Second, the

18 Court deferred ruling in its MIL Order on the government’s ability to introduce certain evidence—such
19 as actions by the Boies Schiller Flexner LLP law firm on behalf of Theranos—until the government

20 sufficiently tied such actions to Defendant (outside the presence of the jury). MIL Order at 62–64.

21          The government can meet that burden with respect to Cheung’s testimony and hereby submits to

22 the Court that there is sufficient foundation and connection to Holmes to permit Cheung to testify

23 regarding the retaliation she faced after resigning from Theranos. Specifically, in May 2015, after

24 learning that Wall Street Journal reporter John Carreyrou was investigating Theranos’s claims regarding

25 its proprietary blood analyzer device, co-conspirator Balwani sends text messages to Defendant Holmes

26 that he is “narrowing [ ] down” who may be the source of Carreyrou’s information, and ultimately says

27 “It is Tyler Erika and Adam” (referring to Tyler Shultz, Erika Cheung, and Dr. Adam Rosendorff).

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     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
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 1 Volkar Decl., Exh. 4 at 2–4. 2 Defendant Holmes responds: “I know.” Id. at 3; see also id. at 4

 2 (PRH_0000221) (Balwani referring to Carreyrou). Balwani and Holmes then discuss a legal strategy to

 3 respond to the Theranos insiders who are providing information to Carreyrou and Holmes says: “You

 4 and I will put our heads together” and “put all our thoughts together into it[.]” Id. at 3–5. One month

 5 later, on June 26, 2015, Balwani texts Holmes: “I am ok sending letter to Erika as in heathers email”

 6 (referring to Heather King, then Theranos’ general counsel and former partner at Boies Schiller Flexner

 7 LLP). Id. at 6. The letter from Boies Schiller Flexner LLP that Cheung receives is dated the same day

 8 as Balwani’s text message—June 26, 2015. Volkar Decl., Exh. 5. Within twenty-four hours of co-

 9 defendant Balwani’s text message, he approves payment to “Interfor,” which is a “global investigative

10 and security consulting firm.” Volkar Decl., Exhs. 6 & 7; see https://www.interforinternational.com/.

11 And an internal spreadsheet tracking payments to vendors from March 2015 to February 2016 reflects

12 the payments to Interfor as well as payments over $100,000 to David B. Fechheimer, a San Francisco-

13 based private investigator, under the category labeled “E. Cheung & T. Shultz project.” Volkar Decl.,

14 Exh. 8. Thus, the government asserts that the evidence proffered sufficiently ties Defendant Holmes

15 along with her co-defendant and co-conspirator Balwani to the actions of Boies Schiller Flexner LLP

16 and its agents as they relate to Erika Cheung. The Court should thus deny Defendant’s 1000 Motion as

17 it relates to Cheung’s expected testimony regarding Theranos’s retaliation against her after she resigned.

18          B.     Daniel Edlin

19          Daniel Edlin began working for Theranos as a senior product manager in 2011 and mostly

20 reported directly to Defendant. ECF No. 1000-3 at 2. From Edlin’s perspective, both Holmes and

21 Balwani controlled technical decisions and shared authority within the company, but Defendant made

22 the ultimate decisions. Id. at 5, 9–10. Edlin was responsible for arranging demos to demonstrate the

23 capabilities of Theranos’s blood testing device and managing Theranos’s business partnership with

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    Exhibit 4 contains excerpts of text messages exchanged between Holmes and Balwani, as contained in
   government trial exhibit 5387 at PRH_0000219–22 and PRH_0000254–55, which was provided by a
26 custodian of PricewaterhouseCoopers LLP; the text messages are also government exhibit 3481. See

27 ECF No. 1001 (government’s redacted exhibit list). The Court’s MIL Order states the government must
   authenticate these text messages and the government intends to do so through Justin Offen, a principal
28 with PricewaterhouseCoopers LLP. MIL Order at 90–94 (“The Court notes, however, that the burden
   on the Government to produce such evidence is slight.”).
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 1 Walgreens, and any relationships between Theranos and the Department of Defense (DoD),

 2 pharmaceutical companies, and research entities. Id. at 2–6. While working for Theranos, Edlin

 3 observed issues with the tests run during demos and noted that other employees sometimes removed

 4 outliers, which in hindsight concerns him. Id. at 6–7. In managing Theranos’s limited relationship with

 5 the DoD, Edlin knew that Theranos’s goal was to provide blood testing devices that the military could

 6 use in the field, but both Edlin and Holmes knew that Theranos’s devices would need to pass certain

 7 tests before it was adopted for use by the DoD. Id. at 7–9. Edlin’s 302 states: “Theranos devices were

 8 never deployed to treat soldiers and never used to make clinical decisions within the DOD.” Id. at 8.

 9          Defendant’s 1000 Motion objects to a PowerPoint presentation that Edlin prepared for the DoD,

10 which Defendant Holmes reviewed and approved. Id. at 8–9; 1000 Mot. at 4–5. The Defendant’s main

11 basis for her objection is that the PowerPoint contains misrepresentations that were sent to DoD rather

12 than directly providing proof of Defendant’s lies about Theranos’s relationship with the DoD, which she

13 asserts is impermissible character evidence, in violation of Rule 404(a), or a prior bad act in violation of

14 Rule 404(b) for which the government did not sufficiently provide notice. 1000 Mot. at 4–5. Defendant

15 accurately states that the government is not alleging the DoD is a victim of either scheme to defraud. Id.

16 But this contested evidence does not merely show Defendant’s propensity for lying; instead, this

17 evidence shows Defendant Holmes executing her plan and scheme to defraud the victims in the case,

18 and her knowledge and intent in defrauding potential investors in Theranos. The agent’s summary of
19 Edlin’s witness interview noted that Edlin obtained several of the statements in the PowerPoint sent to

20 the DoD from other PowerPoints created at Theranos. ECF No. 1000-3 at 8–9. Holmes reviewed and

21 approved the material in the PowerPoint that was sent to the DoD, which contained overlapping

22 statements with those sent to victim investors in the case, thus showing Defendant’s knowledge and

23 intent with respect to statements Theranos was making in the overall scheme to defraud.

24          Furthermore, Defendant’s misrepresentations to the DoD are inextricably intertwined—and thus

25 not Rule 404(b) evidence—with Defendant’s lies about the relationship with the DoD because the lies to

26 DoD facilitated Defendant’s ability to conceal the truth from investors. Evidence that is inextricably

27 intertwined with the charged offense is not Rule 404(b) evidence, and it is inextricably intertwined if the

28 acts are “part of a single criminal transaction” or necessary “to permit the prosecutor to offer a coherent

     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
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 1 and comprehensible story regarding the commission of the crime.” United States v. Beckman, 298 F.3d

 2 788, 793–94 (9th Cir. 2002); see also MIL Order at 23–24, 29–30, 65–66 (finding other claimed 404(b)

 3 evidence to be inextricably intertwined, including when it demonstrated “whether [Holmes] intended to

 4 mislead investors regarding the accuracy and reliability of Theranos’ technology”). Defendant’s lies to

 5 the DoD are the quintessential example of inextricably intertwined evidence because Defendant knew

 6 the device was not working at the level DoD required but she needed some possibility of a relationship

 7 with the DoD in order to be able to sell the same lies to potential investors. Simply put, Defendant lied

 8 to the DoD and strung them along with false promises of a machine that never worked the way she

 9 promised, and by having some contact with the DoD, she was able to severely exaggerate Theranos’s

10 involvement and relationship with the military when making a pitch to investors for money. Lies about

11 Theranos’s relationship with the military have always been a core aspect of this case, and Theranos’s

12 representations to the military demonstrate why that relationship could never have advanced to the level

13 that Holmes claimed. Indeed, to the extent Defendant intends at trial to place the blame on the DoD for

14 not moving further, Edlin noted in his interview that “a recurring theme was the DOD was eager and

15 ready to move forward while Theranos was slow” and unable to fulfill its promises. ECF No. 1000-3 at

16 9. These lies to the DoD are both part of the Defendant’s scheme to defraud investors and necessary for

17 the government to provide a coherent and comprehensible story about Defendant’s scheme to defraud.

18 Thus, the Court should deny Defendant’s 1000 Motion.
19          C.     So Han Spivey (a.k.a. Danise Yam)

20          So Han Spivey, known as Danise Yam when she worked at Theranos, was Theranos’s top

21 financial officer for more than a decade and tracked financial statements for the company, coordinated

22 external audits (when they occurred), and monitored Theranos’s cash flow. ECF No. 1000-4 at 2–5.

23 Yam worked closely with Defendant Holmes. Id. at 4–7. Yam is aware of the time periods when

24 Theranos was low on funds and also that, if Theranos was asked to provide financial information to

25 investors, the company would not provide the latest financial statement but would instead provide the

26 most recent fundraising numbers. Id. at 5, 7. Yam was trained as a financial auditor, but she provided

27 requested information to an outside company that prepared Theranos’s tax returns. Id. at 2, 5–6. Yam

28 recognized Defendant’s signature on Theranos’s tax returns. Id. at 6. The agent’s 302 summary of

     U.S.’ OPP’N RE: DEF.’S 9/6 MOT. TO EXCLUDE TESTIMONY,
     CASE NO. 18-CR-258 EJD                        8
 1 Yam’s voluntary interview also discussed how numbers may be slightly different between financial

 2 statements and tax returns because “income is calculated differently for tax income purposes due to

 3 factors such as deferred revenue.” Id. Yam also worked with a company called Aranca to prepare a

 4 company valuation, which was needed for tax purposes and for stock options granted. Id. at 7.

 5          The assertions in Defendant’s 1000 Motion relating to Yam’s testimony show the fundamental

 6 flaw in Defendant’s approach. 1000 Mot. at 5–6. The government does not intend to elicit the

 7 difference in numbers between Theranos’s financial statements, which Yam largely prepared, and

 8 Theranos’s tax returns, which Yam did not prepare or approve. See ECF No. 1000-4 at 2, 5–6. This is

 9 exactly the type of information that one would ask a potential witness in an interview to understand

10 differences—such as in two documents that provide slightly different accounts of the company’s

11 finances—that may never be elicited at trial. Nor does the government intend to present testimony that

12 Theranos’s failure to have audited financial statements violated some law or regulation. Indeed, the

13 agent summary of Yam’s witness interview only states that such a practice was “unusual.” Id. at 3.

14 Defendant’s 1000 Motion is premature and inefficient by objecting to evidence or potential testimony

15 that may never be brought out at trial.

16          Moreover, Defendant asserts that an expert must be called to discuss the differences between

17 financial statements. No expert is needed to discuss the financial statements Yam prepared within her

18 role as top financial officer for Theranos and for which she has personal knowledge—that is percipient,
19 not expert testimony. And no expert is needed to explain why the financial projections given to

20 investors were one-hundred-fold higher than the valuation of stock options prepared in a manner that

21 would benefit Defendant, as directed by Defendant. Those are simply facts and facts to which Yam can

22 testify as a percipient witness. The relevance is apparent from the stark contrast between the two

23 numbers and the discrepancy is listed as one of Defendant’s misrepresentations to investors as alleged in

24 the indictment. TSI ¶ 12(B).

25          Finally, Defendant challenges the agent’s summary of Yam’s statements related to Defendant

26 Holmes’s spending as Theranos’s CEO, and a specific purchase of jewelry. 1000 Mot. at 5–6. To the

27 extent the government intends to elicit any such testimony at trial, it will comply with the Court’s

28 MIL Order. Specifically, the Court held that “[t]he Government may introduce evidence that Holmes

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 1 enjoyed a lifestyle as Theranos CEO that is comparable to those of other tech company CEOs[,

 2 including] salary, travel, celebrity, and other perks and benefits commensurate with the position.

 3 However, references to specific purchases or details reflecting branding of clothing, hotels, or other

 4 personal items” is not permitted. MIL Order at 9. The government has read and understands the Court’s

 5 MIL Order and fully intends to abide by it. There is no need for the Court to enter an additional order

 6 instructing the government to follow the Court’s prior MIL Order.

 7 III.     Conclusion

 8          Therefore, the government respectfully requests that the Court deny outright, or at most defer,

 9 Defendant’s 1000 Motion.

10

11 DATED: September 7, 2021                                      Respectfully submitted,

12                                                               STEPHANIE M. HINDS
                                                                 Acting United States Attorney
13

14                                                               __/s/ Kelly I. Volkar___________________
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15                                                               JOHN C. BOSTIC
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16                                                               KELLY I. VOLKAR
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